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FOR THE DISTRICT OF ARIZONA

 

Tucson MAGISTRATE JUDGE'S MINUTES
sEnsED SEALED
CR _10-01034 -001-TUC-FRZ (GEE) Date:_05/11/2010
Hon. GLENDA_E. EDMONDS, United States Magistrate Judge Judge #: _70BH

 

USA v. Jonathan Paul Horowitz

DEFENDANT : XJ Present [1 Not Present [] Released KI custody [] writ

Deputy Clerk _Pamela Sweigart Recorded by Courtsmart
U.S. Atty: _Laura Gwinn Dft Atty: _Kurt M Altman (RETAINED)
Intrptr: _N/A

OM pft not appearing, on mot of US Atty, order bond revoked/forfeited and
B/W issued, dft to be held without bail

PROCEEDINGS: x INITIAL APPEARANCE/ARRAIGNMENT / PLEA XK CHANGE OF PLEA
& Waiver of Indictment filed
& Information filed, CODE: 13:922:18:924; IMPORT/POSS. FIREARM

 

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Dft states true name to be:_SAME
Dft advised: ® Right to trial by jury B Right to indictment by GJ
Dft enters: ® GUILTY PLEA to _THE INFORMATION

Lesser offense

®@ Plea agreement WM FILED O NOT FILED W® SEALED

o

 

 

& Guidelines case O Non-guidelines case
& Continued for sentence to 07/19/2010 at 8:50 AM BEFORE JUDGE ZAPATA
&

ORDER: PSR to be prepared. (1) Any objection(s) to the presentence report

shall be filed no later than 14 days after receiving the presentence report
pursuant to Fed.R.Crim.P. 32(f) (2); (2) any response to the objection(s) to the
presentence report shall be filed no later than 11 days after receiving the
objection(s); (3) any sentencing memorandum shall be filed no later than 5
business days prior to sentencing; (4) Any party seeking to continue a sentencing
date shall file a Motion to Continue no later than two (2) business days prior to
the date of hearing. Additionally, counsel shall telephonically notify chambers
when sentencing is within two (2) business days; (5) failure to comply with this
Order may result in the imposition of sanctions.

B ORDER vacate trial date/motion hearing/motions moot
® Provided with copy of Indictment/Information ® Waives reading

B other: Motion and order to seal filed and granted in open court; Notice of
attorney appearance by Kurt Altman filed in open court; Preliminary Order of
forfeiture filed in open court. Defendant is released on his own recognizance with
the following conditions: defendant shall maintain contact with his attorney; Commit
no crimes; shall not leave the country and shall not apply for a visa or passport.

 

 

 

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